Case 5:20-cv-02458-KK Document 27 Filed 06/24/22 Page 1 of 2 Page ID #:2537



 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   ANTONIO CARRILLO - REVELES, )              Case No.: 5:20-cv-02458-KK
                                   )
11             Plaintiff,          )            ORDER AWARDING EQUAL
                                   )            ACCESS TO JUSTICE ACT
12         vs.                     )            ATTORNEY FEES AND EXPENSES
                                   )            PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,              )            AND COSTS PURSUANT TO 28
     Acting Commissioner of Social )            U.S.C. § 1920
14   Security,                     )
                                   )
15             Defendant           )
                                   )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $5,300.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE: June 24, 2022
23                             ___________________________________
                               THE HONORABLE KENLY KIYA KATO
24                             UNITED STATES MAGISTRATE JUDGE
25
26

                                              -1-
Case 5:20-cv-02458-KK Document 27 Filed 06/24/22 Page 2 of 2 Page ID #:2538



 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING, INC., CPC
 3      /s/ Denise Bourgeois Haley
     BY: _________________________
 4       Denise Bourgeois Haley
        Attorney for plaintiff Antonio Carrillo - Reveles
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                            -2-
